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 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA

 9    East Bay Sanctuary Covenant; Al Otro           )
      Lado; Innovation Law Lab; and Central          )   Case No. 3:18-cv-6810-JST
10    American Resource Center in Los                )
      Angeles,                                       )   AMICUS CURIAE BRIEF OF
11                                                   )   IMMIGRATION REFORM LAW
             Plaintiff,                              )   INSTITUTE IN SUPPORT OF
12                                                       FEDERAL DEFENDANTS IN
                     v.                              )
                                                     )   OPPOSITION TO INTERIM RELIEF
13    Donald J. Trump, President of the United       )
14    States, in his official capacity; Matthew G.   )   Date: November 19, 2018
      Whitaker, Acting Attorney General, in his      )   Time: 9:30 a.m.
15    official capacity; U.S. Dep’t of Justice;      )
      James McHenry, Director of the Executive       )
16    Office for Immigration Review, in his          )
      official capacity; the Executive Office for    )
17    Immigration Review; Kirstjen M. Nielsen,       )
      Secretary of Homeland Security, in her         )
18
      official capacity; U.S. Dep’t of Homeland      )
19    Security; Lee Francis Cissna, Director of      )
      the U.S. Citizenship & Immigration             )
20    Services, in his official capacity; U.S.       )
      Citizenship & Immigration Services;            )
21    Kevin K. McAleenan, Commissioner of            )
      U.S. Customs & Border Protection, in his       )
22
      official capacity; U.S. Customs & Border       )
23    Protection; Ronald D. Vitiello, Acting         )
      Director of Immigration & Customs              )
24    Enforcement, in his official capacity;         )
      Immigration & Customs Enforcement,             )
25
             Defendants.                             )
26                                                   )
      _________________________________              )
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                             MEMORANDUM OF POINTS AND AUTHORITIES
 1
             Several groups concerned about immigration issues (collectively, “Plaintiffs”) have sued
 2

 3   various federal officials and offices (collectively, the “Government”) to enjoin the Government’s

 4   actions regarding immigration matters under the Immigration and Naturalization Act, 8 U.S.C.

 5   §§1101-1537 (“INA”) and Administrative Procedure Act, 5 U.S.C. §§551-706 (“APA”).
 6                                      STATEMENT OF ISSUES
 7
             In addition to the issues raised by the parties, this Court should consider whether groups
 8
     such as Plaintiffs can premise their standing on diverted resources under Havens Realty Corp. v.
 9
     Coleman, 455 U. S. 363, 373 (1982), and its progeny when the statute that the groups seek to
10
     enforce either does not remove prudential concerns from the standing analysis (as the Havens
11

12   Realty statute did) or does not include such groups’ expenditures within the zone of interests that

13   the statute protects.

14                           IDENTITY AND INTEREST OF AMICUS CURIAE
15           Amicus curiae Immigration Law Reform Institute (“IRLI”) is a nonprofit 501(c)(3)
16   public-interest law firm incorporated in the District of Columbia. IRLI is dedicated to litigating
17
     immigration-related cases on behalf of, and in the interests of, United States citizens and legal
18
     permanent residents and to assisting courts in understanding and accurately applying federal
19
     immigration law. IRLI has litigated or filed amicus briefs in many important immigration cases.
20
     For more than twenty years, the Board of Immigration Appeals has solicited amicus briefs drafted
21

22   by IRLI staff from IRLI’s affiliate, the Federation for American Immigration Reform, because

23   the Board considers IRLI an expert in immigration law. For these reasons, IRLI has direct

24   interests in the issues here.
25
                                        STATEMENT OF FACTS
26
             In the interest of brevity, IRLI adopts the facts as stated by the Government. Gov’t Memo.

     AMICUS CURIAE BRIEF OF IMMIGRATION REFORM
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     at 1-7.
 1

 2                                               ARGUMENT

 3   I.        PLAINTIFFS LACK STANDING.

 4             Before a federal court can even consider the underlying merits, plaintiffs must establish

 5   their standing to obtain a preliminary injunction. City of Los Angeles v. Lyons, 461 U.S. 95, 103
 6   (1983). As the Government argues, Plaintiffs lack constitutional and prudential standing. Gov’t
 7
     Memo. at 7-9 (Article III standing), 9-11 (zone of interests).
 8
               Plaintiffs premise their organizational standing on the theory that the Government’s
 9
     actions will cause Plaintiffs to expend additional resources to combat the Government’s rule.
10
     Compl. ¶¶ 78-99. Because such diverted-resource injuries are entirely self-inflicted and outside
11

12   the INA’s zone of interests, amicus IRLI respectfully submits that such injuries do not suffice.

13             This type of diverted-resources standing derives from Havens Realty; as Judge Millett of

14   the U.S. Court of Appeals and Judge Chhabria of this Court have explained, “[t]he problem is
15   not Havens[; the] problem is what our precedent has done with Havens.” People for the Ethical
16
     Treatment of Animals v. U.S. Dept. of Agriculture, 797 F.3d 1087, 1100-01 (D.C. Cir. 2015)
17
     (Millett, J., dissenting); accord Animal Legal Def. Fund v. USDA, 632 F. App'x 905, 909 (9th
18
     Cir. 2015) (Chhabria, J., concurring3). Under the unique statutory and factual situation in Havens
19
     Realty, a housing-rights organization’s diverted resources provided it standing, but in most other
20

21   settings such diverted resources are mere self-inflicted injuries. Clapper v. Amnesty Int’l USA,

22   133 S.Ct. 1138, 1152-53 (2013); Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976).

23   Moreover, if mere spending could manufacture standing, any private advocacy group could
24   establish standing against any government action. But that clearly is not the law. Sierra Club v.
25

26   3
               Judge Chhabria was sitting on the Ninth Circuit panel by designation.


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     Morton, 405 U.S. 727, 739 (1972) (organizations lack standing to defend “abstract social
 1

 2   interests”). To avoid overstepping its constitutional authority, this Court should not count the

 3   diverted-resources rationale for Article III standing.

 4             Relying on Gladstone, Realtors v. Bellwood, 441 U.S. 91, 102-09 (1979), Havens Realty
 5   held that the Fair Housing Act at issue there extends “standing under § 812 … to the full limits
 6
     of Art. III,” so that “courts accordingly lack the authority to create prudential barriers to standing
 7
     in suits brought under that section,” 455 U.S. at 372, thereby collapsing the standing inquiry into
 8
     the question of whether the alleged injuries met the Article III minimum of injury in fact. Id. The
 9
     typical organizational plaintiff and typical statute lack several critical criteria from Havens
10

11   Realty.

12             First, the Havens Realty organization had a statutory right (backed by a statutory cause

13   of action) to truthful information that the defendants denied to it. Because “Congress may create
14   a statutory right[,]
15
               … the alleged deprivation of [such rights] can confer standing.” Warth v. Seldin, 422
16
     U.S. 490, 514 (1975). Under a typical statute, a typical organizational plaintiff has no claim to
17
     any rights related to its own voluntarily diverted resources.
18
               Second, and related to the first issue, the injury that an organizational plaintiff claims
19

20   must align with the other components of its standing, Mountain States Legal Found. v. Glickman,

21   92 F.3d 1228, 1232 (D.C. Cir. 1996), including the allegedly cognizable right. In Havens Realty,

22   the statutorily protected right to truthful housing information aligned with the alleged injury
23   (costs to counteract false information, in violation of the statute). By contrast, under INA (or any
24
     typical statute), there will be no rights even remotely related to a third-party organization’s
25
     discretionary spending.
26


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            Third, and most critically, the Havens Realty statute eliminated prudential standing, so
 1

 2   the zone-of-interest test did not apply. When a plaintiff — whether individual or

 3   organizational — sues under a statute that does not eliminate prudential standing, that plaintiff

 4   cannot bypass the zone-of-interest test or other prudential limits on standing.4 Typically, it would
 5   be fanciful to suggest that a statute has private, third-party spending in its zone of interests.
 6
     Certainly that is the case for the INA.
 7
     II.    THE GOVERNMENT DID NOT WAIVE ANY OF THE ARGUMENTS RAISED
 8          IN THIS BRIEF.

 9          Although the zone-of-interests test is a prudential doctrine that a defendant can waive by
10   failing to raise it, City of Los Angeles v. Cty. of Kern, 581 F.3d 841, 845 (9th Cir. 2009), the
11
     Government’s memorandum of law not only argues that Plaintiffs fall outside the INA’s zone of
12
     interests but also distinguishes Havens Realty. Accordingly, the Government has not waived any
13
     of the arguments that IRLI makes because IRLI’s brief supports issues that the Government
14
     already has raised. As such, the Government could raise these arguments on appeal, Yee v.
15

16   Escondido, 503 U.S. 519, 534-35 (1992), so it would be passing strange if this Court cannot

17   consider them here.

18                                             CONCLUSION
19          This Court should deny the request for interim relief because Plaintiffs lack standing.
20

21

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23
     4
            For example, applying Havens to diverted resources in Action Alliance of Senior Citizens
24
     v. Heckler, 789 F.2d 931, 939 (D.C. Cir. 1986) (R.B. Ginsburg, J.), then-Judge Ginsburg correctly
25   recognized the need to ask whether those diverted resources fell within the zone of interests of the
     Age Discrimination Act. 789 F.2d at 939. There was no such inquiry here or in most diverted-
26   resource decisions.


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     Dated: November 16, 2018             Respectfully submitted,
 1

 2
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     AMICUS CURIAE BRIEF OF IMMIGRATION REFORM
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